 Case 1:15-cv-02629-KAM-MDG Document 25 Filed 03/29/16 Page 1 of 1 PageID #: 93


                               MARIO AVILES
                       701 WILLOUGHBY AVENUE APT.6A
                         BROOKLYN, NEW YORK 11206



MARCH 28, 2016

Honorable Marilyn D. Go                                              PRO SE Of FICE
U.S District Court                                              ~~~ri~~~2gQ~E!~!~!
Eastern District of New York
225 Cadman Plaza                                                Aviles v. NYC Hou
Brooklyn, NY 11201                                              sing Police et al
                                                                #1:15-cv-02629MDG

Re:    Aviles v. New York City Housing Police et al
       #: 1:15-cv-02629-KAM-MDG

Dear Honor Go,
I thank you for granting me the time to amend my complaint. Please
accept this correspondence as my amended complaint to correct
information omitted from original complaint.
My arrest dates in question was on 6/17 /14, I was arrested by
Police Officer Allison Bertholomew, Shield No. 24772 from 63rd
pct., second arrest/-\<../- 'rPolice Officer John Cataldi, Shield
No. 1712 assigned to Brooklyn Narcotics North.
Both officers Bertholomew and Cataldi refused me medical attention
and intentionally treated me outside the scope of their civic
duties by recklessly stepping on my hernia and neglecting my cries
for medical attention their intentional misconduct has caused me
physical and psychological trauma on a daily basis.
It has been brought to my attention that the defendant's
representive Jorge Marquez is willing to discuss resolution issues
without further court interventions. Mr. Marquez has scheduled me
for a conference call to discuss resolution issues on April 8,
2016.
Due to the defendant's las test developments to discuss reso~u.t.l'yn: · =-- : __ ::,.,__
issues on April 8, 2016, I would like this court to hold:'.::-fhjs--:- . . . ·--_ ..:. :__.
amended correspondence in abeyance until April 9, 2016.        __ - - ~---·-:-" ·_ -. :-
I thank you for your time and patience in this matter.
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Sincerely, ~
                                                     THAKUR PERSAUD
Mario Aviles                                     Notary Public, State of New York
                                                        No. 01 PE6277103
                                                   Qualified In Queens county
cc:   Jorge Marquez & David Micheal Po       l 80lkmlsslon Expires March 84, 2017
      New York City Law Dept.
                                                                       -·~
      100 Church Street
      New York, NY 10007                      ·~u/~~//~~
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